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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                               4:12CR3099
      vs.
                                                         DETENTION ORDER
AARON RAUL NUNEZ,
                    Defendants.


      The defendant has failed to meet the burden of showing, by clear and convincing
evidence pursuant to 18 U.S.C. § 3143 (a) that defendant will appear at court proceedings
and will not pose a danger to the safety of any person or the community if released. The
Court’s findings are based on the evidence presented in court and contained in the court's
records.
      IT IS ORDERED:


      1)     The above-named defendant shall be detained until further order.


      2)     The defendant is committed to the custody of the Attorney General for
             confinement in a corrections facility; the defendant shall be afforded
             reasonable opportunity for private consultation with counsel; and on order
             of a court of the United States, or on request of an attorney for the
             government, the person in charge of the facility shall deliver the defendant
             to a United States Marshal for appearance in connection with a court
             proceeding.


      February 15, 2013.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
